             Case 2:11-cr-00504-WBS Document 220 Filed 12/16/14 Page 1 of 2


 1   John R. Manning
     Attorney at Law
 2
     1111 H Street, Suite 204
 3   Sacramento, CA 95814
     (916) 444-3994
 4   Fax (916) 447-0931
     jmanninglaw@yahoo.com
 5

 6   Attorney for Defendant
     CYNTHIA CORN
 7

 8                     IN THE UNITED STATES DISTRICT COURT
 9
                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,            ) Case No.: 2:11 CR 504-04 WBS
                                          )
12                     Plaintiff,         ) DEFENDANT'S MOTION TO MODIFY
                                          )
13
                                          ) TURN IN DATE AND PROPOSED ORDER
     vs.                                  )
14
                                          )
     CYNTHIA CORN                         )
15
                                          )
                                          )
                       Defendant.
16

17

18         Counsel for defendant Cynthia Corn, John R. Manning, Esq.,
19
     hereby respectfully asks the court to modify and extend Ms.
20
     Corn's self surrender date from January 8, 2015, to February 12,
21
     2015.
22

23         Ms. Corn's 86 year old father will be having a series of

24   M.D. appointments and tests in January as there is concern his
25
     prostate cancer has returned.        (Ms. Corn's father was diagnosed
26
     with prostate cancer some time ago, but it [the cancer] had been
27
     in remission.)
28



                                              1
          Case 2:11-cr-00504-WBS Document 220 Filed 12/16/14 Page 2 of 2


 1       Because of his age, the number of appointments and the toll
 2
     the tests and appointments take on him, Ms. Corn's father needs
 3
     assistance getting to and from his appointments. Ms. Cor's
 4
     father lives in Santa Clara and Ms. Corn, who lives in the Bay
 5

 6   Area, is the closest relative able to assist in this process.

 7   (Ms. Corn's brother hopes to relocate to the Bay Area by
 8
     February to take over responsibility for caring for both their
 9
     father and mother.)
10
         Counsel for the government, Lee S. Bickley, has been
11

12   notified of this request and has no objection.

13   Dated: December 15, 2014              /s/ John R. Manning
                                           John R. Manning
14
                                           Attorney for
15                                         Cynthia Corn

16

17

18
                                      ORDER
19
     IT IS FOUND AND ORDERED.
20
     Dated:   December 15, 2014
21

22

23

24

25

26

27

28



                                           2
